         Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 1 of 16




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                                   Crim. Action No. 1:20-cr-00188
UNITED STATES OF AMERICA

v.

HAMID AKHAVAN and RUBEN WEIGAND



        MEMORANDUM OF LAW OF NON-PARTIES BANK OF AMERICA, N.A.,
     MICHAEL FARRELL, AND ROSEMARY STACK IN SUPPORT OF THEIR JOINT
      MOTION TO QUASH DEFENDANT HAMID AKHAVAN’S TRIAL SUBPOENAS
          AND IN THE ALTERNATIVE TO ALLOW TESTIMONY BY VIDEO
            Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 2 of 16




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

FACTUAL BACKGROUND ......................................................................................................... 2

LEGAL STANDARD ..................................................................................................................... 5

ARGUMENT .................................................................................................................................. 7

          I.         THE SUBPOENAS ARE UNREASONABLE, AS THEY SEEK
                     TESTIMONY THAT IS IRRELEVANT, IMMATERIAL, AND
                     DUPLICATIVE ...................................................................................................... 7

          II.        THE SUBPOENAS ARE UNDULY BURDENSOME AND
                     OPPRESSIVE IN LIGHT OF THE CURRENT COVID-19 PANDEMIC ......... 10

          III.       IN THE ALTERNATIVE, THE COURT SHOULD MODIFY THE
                     SUBPOENAS TO PROVIDE FOR VIDEO TESTIMONY ................................ 12

CONCLUSION ............................................................................................................................. 13
            Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 3 of 16




                                                TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
                                                                 CASES

Stern v. U.S. Dist. Court for Dist. of Mass., 214 F.3d 4 (1st Cir. 2000) ..........................................6

United States v. Beasley, 479 F.2d 1124 (5th Cir. 1973) .............................................................6, 7

United States v. Bergeson, 425 F.3d 1221 (9th Cir. 2005) .............................................................6

United States v. Cognetta, 2019 WL 4198544 (S.D.N.Y. Aug. 13, 2019) ......................................6

United States v. Cordero, 2007 WL 9672622 (N.D. Ga. Dec. 20, 2007) ........................................6

United States v. Nachamie, 91 F. Supp. 2d 552 (S.D.N.Y. 2000) ...................................................6

United States v. Skelos, No. 15-CR-317 (KMW), 2018 U.S. Dist. LEXIS 83480
       (S.D.N.Y. May 17, 2018) .....................................................................................................8

United States v. Tucker, 249 F.R.D. 58 (S.D.N.Y. 2008) ................................................................6

                                    STATUTES, RULES, AND REGULATIONS

Fed. R. Crim. P. 17(a) ..................................................................................................................5, 8

Fed. R. Crim. P 17(c) .......................................................................................................................6

Fed. R. Evid. 803(6) .........................................................................................................................8

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COVID-19 Travel Advisory, N.Y. Dep’t of Health,
     https://coronavirus.health.ny.gov/covid-19-travel-advisory (last visited
     Feb. 24, 2021) ....................................................................................................................11

Travel During COVID-19, CDC COVID-19 (Feb. 16, 2021),
       https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-during-
       covid19.html ......................................................................................................................10

United States COVID-19 Cases and Deaths by State, CDC COVID Data Tracker,
       https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days
       (last visited Feb. 24, 2021).................................................................................................10




                                                                      ii
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 4 of 16




       Non-parties Bank of America, N.A. (“Bank of America” or “the Bank”), Michael Farrell,

and Rosemary Stack respectfully submit this Memorandum of Law in Support of their Joint

Motion to Quash Defendant Hamid Akhavan’s Trial Subpoenas and in the Alternative to Allow

Testimony by Video.

                                PRELIMINARY STATEMENT

       Defendant Hamid Akhavan (“Defendant”) seeks—less than a week before trial—to

compel non-parties Michael Farrell and Rosemary Stack to travel from Georgia and Delaware,

respectively, to appear and testify in person at trial in New York. These subpoenas subject Mr.

Farrell and Ms. Stack to unwarranted burdens and grave risks in light of the ongoing COVID-19

pandemic, and they seek testimony that is irrelevant, immaterial, and duplicative. Accordingly,

the subpoenas should be quashed—or at the very least, modified to allow the witnesses to testify

via live video from their home states.

       Throughout Bank of America’s involvement in this case as a third party, which dates

back to June 2020, the Bank has made every effort to cooperate with requests from both the

government and Defendant. The Bank produced over 1,600 pages of documents to Defendant

and facilitated a government interview with a Bank of America Senior Vice President, Ms.

Stack, which we understand has been summarized for Defendant in a memorandum of interview

produced by the government. When it became apparent that Ms. Stack would not be available to

testify in person at trial due to the COVID-19 pandemic, Bank of America accommodated the

government’s request for an alternate employee who could provide in-person testimony, making

Senior Vice President Rich Clow available for testimony at trial. When Defendant made clear

that he wanted Mr. Clow to testify as part of Defendant’s case as well, the Bank engaged in a

constructive dialogue with counsel for Defendant concerning the broad range of topics he would
           Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 5 of 16




be able to cover in his testimony and the documents he would be able to authenticate and

explain.

       Despite these efforts, on the eve of the trial, Bank of America is now faced with

subpoenas seeking testimony from two additional employees, both supported by only vague and

unspecified reasons as to why this testimony is necessary. This is a far cry from the burden

placed on a proponent of a subpoena to demonstrate that the material sought is not unreasonable

or oppressive.

       On the contrary, these subpoenas are unduly burdensome, as they force two non-parties

to travel during a pandemic without even providing enough time for the witnesses to clear

statewide or courthouse COVID protocols. And they are fundamentally unreasonable in that

they seek testimony that is both irrelevant to the defense’s case and wholly duplicative of other

documents and testimony already proffered. For these reasons, the motion to quash should be

granted or, in the alternative, the subpoenas should be modified to allow for video testimony.

                                 FACTUAL BACKGROUND

       On June 30, 2020, the government contacted Bank of America to facilitate an interview.

The government wanted to know what information the issuing bank of a credit or debit card

receives about the identity of a merchant and the goods being sold to the customer by the

merchant. The government also wanted to know what actions Bank of America would take if a

transaction was discovered to be a transaction involving marijuana. On July 10, 2020, the

government (including two FBI agents) interviewed Bank of America employee Rosemary Stack

regarding those topics. As a Senior Vice President for Card Payments Strategy, Ms. Stack works

with the Enterprise Payments Team at Bank of America. The Enterprise Payments Team’s work

includes overseeing and monitoring the Bank’s debit and credit card network controls and

engaging with credit card networks (such as Visa, MasterCard, and American Express) to
                                                 2
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 6 of 16




enhance the Bank’s processes and escalate issues to the credit card network as necessary. At the

end of the interview, the government requested documents such as Bank of America’s policies

around marijuana businesses and sample credit card agreements with card holders. Bank of

America produced the requested documents to the government in July and August of 2020.

       On October 15, 2020, the government requested that Ms. Stack serve as a witness for the

government in the trial for this case, which was then set for December 1, 2020. A few days later,

counsel for Bank of America informed the government that in light of the risks of the COVID-19

pandemic, Ms. Stack would need to testify by live video or by pre-recorded deposition

testimony. The government asked if the Bank had a New York employee who had the requisite

knowledge and could testify instead.

       The Bank identified Rich Clow, a Senior Vice President for Emerging Payments and

Strategy, as a witness who could provide substantially the same testimony and had the requisite

knowledge and expertise—and who lives in New Jersey, a state contiguous to New York, and

works in New York City. Like Ms. Stack, Mr. Clow works with the Enterprise Payments Team.

And like Ms. Stack, Mr. Clow is familiar with the Bank’s controls as they relate to the credit and

debit card networks and the processes in place to monitor and escalate potentially non-compliant

transactions to the card networks.

       On October 27, 2020, counsel for Defendant served Bank of America with a Subpoena to

Produce Documents, Information, or Other Objects in a Criminal Case, seeking a substantially

broader set of materials than those requested by the government. In a series of conference calls

beginning on November 2, 2020, counsel for the Bank described to defense counsel the available

documents and worked with defense counsel to understand Defendant’s discovery needs. On

January 13, 2021, Bank of America produced over 1,600 pages of documents to Defendant,


                                                3
         Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 7 of 16




noting that per prior agreement with defense counsel, the production satisfied the October 27

subpoena. The materials produced included periodic audits and reviews of marijuana-related

transactions and communications related to dispensary transactions through credit/debit card

networks, Bank of America’s Marijuana Dispensary Card Transaction Monitoring Procedure,

and information on merchant names and actions taken by Bank of America concerning

transactions potentially related to the sale of cannabis.

        On February 8, 2021, counsel for Defendant contacted counsel for the Bank requesting

that it designate a representative who could testify about the substance of the documents

produced and attest, where applicable, that the documents were produced in the ordinary course

of the Bank’s business. During a call on February 9, 2021, counsel for the Bank confirmed that

the same witness identified for the government, Mr. Clow, would be able to speak to the topics

identified by Defendant, and that the Bank could provide the requested business records

certification.

        On February 12, 2021, counsel for Defendant again discussed with the Bank’s counsel

Defendant’s desire for testimony on certain topics, and the Bank’s counsel reiterated that Mr.

Clow was the right witness on these subjects. Counsel for Defendant posed additional questions

about the Bank’s business, and the Bank’s counsel agreed to look into those issues. Following

the call, counsel for Defendant served Bank of America with a trial subpoena for testimony on a

list of topics identified by Defendant.

        On Sunday, February 21, 2021, just days before the trial was set to begin, counsel for

Defendant contacted counsel for Bank of America regarding their intent to issue trial subpoenas

to Michael Farrell and Rosemary Stack (collectively, the “Subpoenas”). During a February 23,

2021 phone call, and in an email message sent the same day, counsel for Defendant asserted that


                                                  4
          Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 8 of 16




they wished to subpoena Ms. Stack because the government’s memorandum summarizing her

July 2020 interview—which we have never seen—included statements that they viewed as

potentially helpful to Defendant’s case. Counsel for Defendant asserted that they wished to

subpoena Mr. Farrell because Defendant might seek to introduce into evidence certain email

messages that included Mr. Farrell but not Mr. Clow—notwithstanding that the government

might be willing to admit those emails without requiring a witness, as business records. Defense

counsel also stated on the call that Defendant would not support a motion to allow Mr. Farrell

and Ms. Stack to testify remotely, stating only that Defendant would “take no position” on such a

motion.

       In response, counsel for the Bank reiterated on the call that Mr. Clow was knowledgeable

as to substantially all of the relevant topics that Ms. Stack had discussed during her interview and

that the emails involving Mr. Farrell lacked relevance and duplicated other evidence likely to be

admitted at trial.1 Nonetheless, Defendant served the Subpoenas on Mr. Farrell and Ms. Stack

later that day, ordering Mr. Farrell and Ms. Stack to appear in New York to testify less than a

week later, on March 1, 2021.2

                                      LEGAL STANDARD

       Federal Rule of Criminal Procedure 17(a) governs subpoenas ad testificandum in

criminal proceedings. Although Rule 17(a) “does not provide explicitly for quashal or

modification, courts routinely have entertained motions seeking such relief and decided them by


1
 On this call, the attorneys for the Bank made clear that they did not at that time represent Mr.
Farrell or Ms. Stack. Counsel explained that, if Defendant served subpoenas on Mr. Farrell or
Ms. Stack, and if they chose to be represented by the same firm representing the Bank, counsel
would likely recommend moving to quash given the extraordinary burden involved in having to
provide trial testimony and the lack of relevance of the requested testimony.
2
  During a February 24, 2021 telephonic conference with the Court’s Chambers, counsel for
Defendant agreed that Mr. Farrell and Ms. Stack would not need to appear in person during the
first week of the trial.
                                                 5
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 9 of 16




reference to comparable principles.” Stern v. U.S. Dist. Court for Dist. of Mass., 214 F.3d 4, 17

(1st Cir. 2000). Thus, courts apply “[r]oughly the same standard” to subpoenas ad testificandum

as subpoenas duces tecum under Rule 17(c), id., which allows a court to quash or modify a

subpoena if “compliance would be unreasonable or oppressive.” See also United States v.

Bergeson, 425 F.3d 1221, 1227-1228 (9th Cir. 2005) (upholding a district court order quashing a

subpoena for testimony pursuant to Fed. R. Crim. P. 17(c)(2)).

       Accordingly, in order to survive a challenge, the proponent of a subpoena ad

testificandum must “show that the testimony sought is both relevant and material.” Stern, 214

F.3d at 17. A motion to quash or modify should be granted when the subpoena seeks testimony

that is cumulative or immaterial to the defense. United States v. Beasley, 479 F.2d 1124, 1128

(5th Cir. 1973). Further, a motion to quash should be granted if the subpoena is “unduly

burdensome or oppressive.” United States v. Cognetta, 2019 WL 4198544, at *4 (S.D.N.Y. Aug.

13, 2019); see also United States v. Cordero, 2007 WL 9672622, at *2 n.4 (N.D. Ga. Dec. 20,

2007) (“Federal Rule of Criminal Procedure 17(c)(2) allows a court to quash a subpoena issued

in a criminal case if compliance with the subpoena would be unduly burdensome or

oppressive.”).3




3
  In United States v. Tucker, the Court articulated a slightly different test for a subpoena duces
tecum issued by a criminal defendant to a third party on the eve of trial, where “the defendant has
an articulable suspicion that the documents may be material to his defense.” See 249 F.R.D. 58,
66 (S.D.N.Y. 2008). Under this standard, the defendant must show “that the request is (1)
reasonable, construed as ‘material to the defense,’ and (2) not unduly oppressive for the
producing party to respond.” Id. (quoting United States v. Nachamie, 91 F. Supp. 2d 552, 562
(S.D.N.Y. 2000)). This Court recently adopted the Tucker standard with respect to another
subpoena seeking documents from a third party. Dkt. No. 177 at 6. For the reasons outlined
below, the Subpoenas should also be quashed under this standard.
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        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 10 of 16




                                          ARGUMENT

       Defendant’s subpoenas to Mr. Farrell and Ms. Stack should be quashed because the

burden on these non-parties, requiring them to travel hundreds of miles to testify during a

pandemic, far outweighs the minimal and speculative value that Defendant imagines might come

from their testimony. There is no basis to believe that Ms. Stack’s testimony will be different in

any material respect than the testimony to be presented by Mr. Clow, who is already scheduled to

testify pursuant to a defense subpoena. And Defendant cannot show that Mr. Farrell’s testimony

is needed because emails he is on would not be relevant or helpful to the defense, and their

substance could be admitted without his presence.

       I.      THE SUBPOENAS ARE UNREASONABLE, AS THEY SEEK
               TESTIMONY THAT IS IRRELEVANT, IMMATERIAL, AND
               DUPLICATIVE

       The Subpoenas seek testimony that is irrelevant to the issues in this case and are therefore

unreasonable. Moreover, to the extent that Ms. Stack or Mr. Farrell’s testimony could be

deemed relevant, it is duplicative of evidence in the testimony that Bank of America employee

Mr. Clow is prepared to offer at trial and in documents already produced by Bank of America to

both the government and defense counsel. A motion to quash or modify should be granted when

the subpoena seeks testimony that is cumulative or immaterial to the defense. Beasley, 479 F.2d

at 1128.

       First, any testimony that Ms. Stack could offer at trial is duplicative of the testimony that

Mr. Clow is prepared to offer. Mr. Clow, like Ms. Stack, is personally familiar with the

procedures Bank of America has in place for processing and reviewing transactions in order to

flag and address those transactions that may violate federal law or internal policies. To the

extent Defendant wishes to pursue a defense based on the argument that merchant trickery

relating to marijuana sales was immaterial to Bank of America, Mr. Clow understands the
                                                 7
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 11 of 16




importance the Bank places on ensuring its card network is not used for illegal transactions, and

the reasons behind that priority. He is thus qualified and prepared to testify to any topics

Defendant may wish to explore from Ms. Stack’s prior interview.

       Indeed, Defendant is apparently unable to identify with any certainty the specific

testimony Ms. Stack would provide upon being called to the stand. On the February 24, 2021

call with the Court’s Chambers, counsel for Defendant stated that the defense would not call Ms.

Stack as a witness unless Mr. Clow testified in a manner inconsistent with the FBI’s notes of Ms.

Stark’s interview. This is no way satisfies the requirement that a Rule 17 subpoena seek

“specific admissible evidence” in order to survive a motion to quash. United States v. Skelos,

2018 U.S. Dist. LEXIS 83480, at *5 (S.D.N.Y. May 17, 2018) (citation omitted).

       Second, any testimony that Mr. Farrell could offer at trial is unnecessary or irrelevant to

the defense, and to the extent that it may be deemed relevant, is duplicative of evidence Bank of

America has already produced in cooperation with both the government and Defendant. Mr.

Farrell’s only connection with this case arises out of three emails included in Bank of America’s

January 13, 2021 production to Defendant, of which he was a recipient. 4 Defendant’s apparent

need for testimony from Mr. Farrell is so that Mr. Farrell can authenticate these three emails, as

Defendant believes they are unlikely to be admitted as self-authenticating business records. First

of all, to the extent that what Defendant is really seeking are the attachments to the emails, those

documents likely would be business records under Federal Rule of Evidence 803(6) and Bank of




4
 Given the compressed timing of the briefing on this motion, as well as the Court’s Protective
Order protecting third-party material marked as Highly Confidential (see Dkt. No. 126), we have
not included these Highly Confidential emails as exhibits. We are happy to provide them to the
Court as needed or as requested.
                                                 8
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 12 of 16




America would be willing to provide a certification as to one of the attachments to that effect. 5

However, if authentication is all that Defendant needs, Bank of America is more than willing to

provide an affidavit authenticating the documents as emails on the Bank’s servers sent or

received on the dates indicated by the individuals listed as senders and recipients.

       In any event, the emails are irrelevant and immaterial to the defense. The three emails in

question—to the extent that they address issues implicated in this trial at all—show Bank

personnel working diligently to execute the Bank’s procedures for reviewing transactions to flag

and address marijuana transactions. In other words, these documents are merely examples of

Bank of America employees doing their jobs to ensure that marijuana transactions are properly

addressed. These documents are fundamentally unhelpful to the defense’s argument, which

hinges on a contention that Bank of America “do[es] not care about whether their cardholders are

purchasing marijuana.” Dkt. No. 177 at 10. Evidence that Bank employees were actively

engaged in implementing and improving their procedures to prevent such transactions cannot be

relevant to support such an argument.

       Even if the contents of these emails could be deemed relevant and material, Mr. Farrell’s

testimony regarding their contents would nonetheless be irrelevant because it is duplicative.

Bank of America has produced myriad documents which speak to its policies and procedures for




5
  One of the emails Defendant apparently wants Mr. Farrell to authenticate merely transmits a
one page document in anticipation of a scheduled call. The other attachment is a completely
redacted Visa Confidential document sent to Bank of America by Visa. Presumably, Defendant
has or had the ability to procure a copy of this document from Visa (who is also appearing for
trial by video), and request a certification as to that document, if he believes the document is
material to his defense.
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        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 13 of 16




the prevention of marijuana purchases, 6 as well as examples of these procedures in practice. 7

These documents, which Bank of America has certified as business records, are sufficient to

speak to the Bank’s active interest in and steps towards monitoring against marijuana

transactions. Moreover, Mr. Clow will testify to the very same efforts undertaken by the Bank to

identify and escalate to the credit card networks non-compliant merchants that are demonstrated

by the Farrell emails. The contents of these emails represent cumulative evidence at best, and a

subpoena compelling testimony about their contents is therefore unreasonable.

       II.     THE SUBPOENAS ARE UNDULY BURDENSOME AND OPPRESSIVE IN
               LIGHT OF THE CURRENT COVID-19 PANDEMIC

       According to the Centers for Disease Control and Prevention (“CDC”), more than 28

million Americans so far have contracted COVID-19 and, as of the drafting of this motion, more

than 503,000 have died from it. See CDC COVID Data Tracker, United States COVID-19 Cases

and Deaths by State, https://covid.cdc.gov/covid-data-tracker/#cases_casesper100klast7days (last

visited Feb. 25, 2021). Travel increases a person’s risk of contracting COVID-19 and the CDC

has explicitly warned against individuals travelling at this time. See CDC COVID-19 Travel

During COVID-19, (Feb. 16, 2021), https://www.cdc.gov/coronavirus/2019-

ncov/travelers/travel-during-covid19.html. In fact, the CDC website states in bold letters:

“COVID-19 Alert: Cases are Extremely High. Avoid Travel.” Id.


6
 These documents include, but are not limited to, Bank of America’s Marijuana Dispensary
Card Transaction Monitoring Procedure, Bank of America’s Network Data Integrity Escalations
Procedure, Bank of America’s Marijuana Related Businesses Policy and Financial Crimes
Compliance – Enterprise Policy, and Mastercard Rules and Visa Core Rules and Product Service
Rules.
7
  These documents include, but are not limited to, periodic audits and review of marijuana-
related transactions, communications related to dispensary transactions through the credit/debit
card networks, the Marijuana Overview and Audit Results portion of Bank of America’s High-
Risk Transaction Monitoring Review, merchant names and actions taken by Bank of America
concerning transactions potentially-related to the sale of cannabis, and exemplar credit and debit
cardholder agreements issued by Bank of America.
                                                10
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 14 of 16




       In New York, out-of-state travelers entering the state from a noncontiguous state must

first obtain a negative COVID-19 test no more than three days prior to reaching the state.

COVID-19 Travel Advisory, N.Y. Dep’t of Health (Feb. 9, 2021),

https://coronavirus.health.ny.gov/covid-19-travel-advisory. They must then quarantine for a

minimum of three days, after which they must take another COVID-19 test. Id. Further, the

Southern District of New York has a standing order in place that provides that anyone who has

traveled “in the past 14 days” from “a state that is noncontiguous to New York” cannot enter a

courthouse in the Southern District of New York unless “proof of compliance with the Court’s

test-out protocol has been provided.” See Second Amended Standing Order, ECF No. 3, Case

No. 1:21-mc-00164-CM. The test-out protocol 8 provides that, prior to entering the courthouse,

individuals must take a COVID PCR diagnostic test “within three days prior to departure from

the state of embarkation” and take “another COVID PCR diagnostic test on day 5 after arrival in

New York,” receiving negative results from both tests.

       Given that Ms. Stack lives in Delaware and Mr. Farrell lives in Georgia, testifying in

person would require at least a five-day stay in New York. It is unduly burdensome for them to

have to consume nearly a week of their lives for the sake of, at most, a few hours on the witness

stand, especially given the lack of relevance and materiality to any testimony they could possibly

give (as discussed above). And given that neither Mr. Farrell nor Ms. Stack has received the

COVID-19 vaccine, the risk of traveling and attending court is severe.

       Even the accommodation afforded to Visa Inc. in a recent Court ruling—that the third-

party witness be permitted to testify at trial via live two-way video from a different federal



8
 Available at https://www.nysd.uscourts.gov/sites/default/files/2020-
11/Entry%20Protocol%20for%20Domestic%20Travelers%2011-20.pdf.
                                                 11
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 15 of 16




courthouse (see Dkt. No. 174; Minute Entry (Feb. 19, 2021))—would be unduly burdensome.

Although Mr. Farrell and Ms. Stack would not need to navigate interstate travel protocols, they

would still need to comply with courthouse protocols at the selected courthouses. And, again,

given that neither has been vaccinated from COVID-19, they would both run the risk of

contracting the virus in such a public forum. 9

       III.    IN THE ALTERNATIVE, THE COURT SHOULD MODIFY THE
               SUBPOENAS TO PROVIDE FOR VIDEO TESTIMONY

       In the alternative, if this Court denies this motion to quash the Subpoenas, we respectfully

request that Ms. Stack be allowed to testify via live two-way video from a safe location in her

home state of Delaware, and Mr. Farrell be allowed to testify via live two-way video from a safe

location in his home state of Georgia. One third-party witness has already been approved to

testify in this manner, over Defendant’s Confrontation Clause objection. See Minute Entry (Feb.

19, 2021) (granting non-party’s motion to offer trial testimony by video). While, for the reasons

articulated in Section II, this option remains an inappropriate burden for Mr. Farrell and Ms.

Stack, it would be less intrusive and risky than requiring testimony in New York.




9
 Notwithstanding this inconvenience and burden, should the Court deny the motion to quash, the
Court should permit Mr. Farrell and Ms. Stack to testify by video, for the reasons outlined in
Section III.
                                                  12
        Case 1:20-cr-00188-JSR Document 198 Filed 02/26/21 Page 16 of 16




                                         CONCLUSION

       For the foregoing reasons, Defendant’s Subpoenas to Mr. Farrell and Ms. Stack should be

quashed or, in the alternative, modified to allow for video testimony.


Dated: February 25, 2021                     Respectfully submitted,

                                              /s/ Justin Goodyear
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                                                13
